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                                         UNITED STATES DISTRICT COURT
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                                        CENTRAL DISTRICT OF CALIFORNIA
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                       JLTKIN MEDIA,INC., a California           CASE NO. 15-CV-7158-GW-FFM
                 11    corporation,
     0                                                           Hon. George H. Wu
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                                             Plaintiff,
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aN~              13                     v.                       PLAINTIFF JUKIN MEDIA,
a~,Qoo                                                           INC.'S OPPOSITION TO MOTIOT
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                 14    ZOOMIN.TV, a Dutch company,               TO DISMISS
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z ~Z~
  ~ a            15                          Defendant.
W        ~,                                                      Date:        December 14, 2015
~ ZU ~           16                                              Time:        8:30 a.m.
     0            ~7
                                                                 Location:    Courtroom 10
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            1           Plaintiff Julcin Media,Inc.("Plaintiff' or "Julcin") submits this memorandum
            2   of law in opposition to Defendant Zoomin.TV's ("Defendant" or "Zoomin")
            3   motion to dismiss (the "Motion").
            4   I.      INTRODUCTION
            5           Zoomin's motion relies upon a series of false statements that find no support
                in the facts. The facts instead reveal that(1)this court has specific personal
            7   jurisdiction over Zoomin; and (2)Zoomin was personally served with process.
            8           Zoomin's motion denies it had any knowledge ofthe alleged infringement
            9   prior to the filing ofthis lawsuit. Mot. at 7. Yet, Zoomin acknowledged that it
           10   infringed Julcin's copyrighted videos ("Jukin Original Videos")in documented
           11   email correspondence. See Declaration of Cameron Saless ("Sales Decl."), ¶ 8,
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  W        12   Ex. A. As the email correspondence shows, Julcin spent significant time trying to
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a~~        13   get Zoomin to address the infringements to avoid litigation and Zoomin repeatedly
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           14   refused. Id.
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z~Q~       15           Zoomin's motion also claims it "does not engage in business activities in the
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                U.S." Mot. at 2. Zoomin's corporate website, and various digital media
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           17   publications, however, acknowledge that Zoomin maintains offices in Los
           18   Angeles, California, and Miami, Florida. See Declaration of Tamany Vinson
           19   Bentz("Bentz Decl."), ¶ 3, Exs. A. One such publication reveals that Julcin
           20   coordinates business development, sales, and marketing, for the Western and
           21   Midwestern United States from its Los Angeles office. Id., Ex. E. Zoomin further
           22   enjoys partnerships with California-based companies Yahoo! and YouTube, and
           23   North America represents 18% ofZoomin's web audience, 11% of Zoomin's
           24   mobile audience, and Zoomin characterizes the United States as a "key market"
           25   responsible for 420 million monthly views. Zoomin has also visited Jukin's Los
           26   Angeles office to discuss terms for a business relationship. Compl., ~ 17; Saless
           27   Decl., ¶ 5. Zoomin does not address any ofthese issues in its motion and instead
           28   simply relies on its conclusory false statement.

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             1             Zoomin contends that it was not properly served because Matt J. Slan, who
             2    received service of process, is not permitted to receive service of process on behalf
             3    ofZoomin and is merely a "free lance consultant." Mot. at 13. Zoomin's corporate
             4    website, however, reveals that Mr. Slan is Zoomin's United States Vice-President
             5    of Sales and Business Development. See Bentz Decl. ¶ 4, Ex. B. Online digital
             6    media news outlets report the same. Id., Exs. C-E. Under the circumstances,
             7    service of process was properly executed because, regardless of whether or not Mr.
             8    Slan is a managing or general agent ofZoomin, it is fair, reasonable, and just to
             F~   imply that Mr. Slan had authority to receive service due to Zoomin's public
             10   representations about Mr. Slan's authority and role at the company. In fact, Mr.
             11   Slan provided notice ofthe lawsuit to other officers at Zoomin. Document 12-3,
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     N       12   j Declaration of Matt Slan at ¶ 6.
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a~~0         13            Zoomin also claims it was not properly served because papers were left with
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             14   a general receptionist at leased office space. Mot. at 13. In contrast, the process
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z~QM         15   server who served Slan with process acknowledged, in a sworn affidavit, that he
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     U       16   personally served Slan. The process server further confirmed that the individual
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             ~~   served matched the picture of Mr. Slan that is on Zoomin's website.
             18   II.      STATEMENT OF FACTS
             19             A.    Background
             20             Julcin is a California corporation that primarily engages in the licensing and
             21   acquisition of short-form videos in various commercial applications. Complaint
             22   ("Compl.")(Dlct. 1), ~ 11. Julcin also monetizes videos it acquires via broadcast on
             23   Jukin's own branded YouTube channels, on several of its websites including
             24   www.JukinVideo.com, and through other strategic partnerships. Id. ¶ 12. Julcin
             25   invests in substantial research and analytical efforts to discover videos that it
             26   believes may be interesting to the public. Id. ¶ 11.
             27             Initially, both Jukin and Zoomin considered a relationship under which
             28   Zoomin would distribute and monetize Jukin content on anon-exclusive basis
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                                               PLAINTIFF JUKIN MEDIA,iNC.'S OPPOSITION TO MOTION TO DISMISS
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            1    through Zoomin's channels of distribution. Sales Decl., ¶ 2. Zoomin
            2    representatives even visited Jukin's Los Angeles headquarters to engage in
            3    business discussions. Compl., ¶ 17; Saless Decl., ¶ 5. During the course oftheir
            4    courtship, Jukin became aware that many ofthe Julcin Original Videos were
            5    showing up on various Zoomin channels of distribution. Saless Decl., ¶ 6. Email
            6    correspondence between several Julcin executives and Zoomin's CEO, Jan
            7    Riemens, indicates that Riemens(1) was aware of the infringement; and (2)
            8    intended to take affirmative steps to remove infringing content. Id., ~ 8, Ex. A.
            9    Over time, Riemens correspondence became increasingly hostile, and eventually,
           10    Riemens emphatically expressed that Zoomin would not remove any infringing
           11    content. Id. As a result, Jukin had no choice but to file the present action.
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   W       12            Due to Zoomin's continued use ofthe thirty-four copyrighted videos, Jukin
                 has lost licensing fees that Zoomin—or third parties—should have paid for use of
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           14    the videos, as well as the ability to monetize the videos through ad placements.
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z~Q"'      1J    Compl., ¶ 130. Jukin is also losing out on the ability to capture potential new
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  U        16    viewers, who lose incentive to visit Julcin's websites, after they watch the Jul~in
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           1 /   ~ Original Videos on Zoomin's channels of distribution. Id. Further, Zoomin's
           18    actions damage Julcin's potential relationship with Zoomin's partners. If, for
           19    example, avideo-sharing website is already receiving Jukin Original Videos via
           20    Zoomin, it has no incentive to pay Julcin.
           21             B.    Zoomin's "Forum-Related" Contacts
           22             Zoomin routinely republishes Jukin Original Videos on Zoomin-affiliated
           23    websites, often citing infringing YouTube accounts as the video credit. Compl., ¶~
           24    15-20. When Julcin approached Zoomin regarding Zoomin's willful infringement
           25    of Jukin's copyrights, Julcin was met with flippant answers from Jan Riemens,
           26    Zoomin's CEO,or no response at all. Sales Decl., ~ 8, Ex. A. Despite
           27    documented email correspondence between Jukin and Riemens, Riemens
           28    maintains that Zoomin "never received notice ofthe alleged infringement" prior to
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               1    Zoomin being named a party in the instant action. Mot. at 7; Declaration of Jan
               2    Riemens("Riemens Dec1."), ¶ 10. Zoomin continues to publish Julcin Original
               3    Videos on Zoomin-affiliated websites.
               4            Aside from Zoomin's willful infringement ofthe copyrights of Jukin, a
               5    California corporation, Zoomin maintains other significant contacts in this State.
               6    Zoomin's corporate website makes clear that Zoomin has an office in Los Angeles.
               7    Bentz Decl., ~ 3, Ex. A. Various digital media trade publications, readily
               8    available online, reported Zoomin's U.S. expansion, and further explain that
               9    Zoomin's Los Angeles office is responsible for business development, sales, and
              10    marketing, in the Western and Midwestern United States. Bentz Decl., ¶¶ 7-9, Exs.
              11    E-G. These publications identify the following employees ofZoomin's Los
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  W   N       1~    Angeles office: Matt J. Slan, Vice President of Sales and Business Development;
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a ~~          13    and Tina Salem, United States Advet-tising Sales. Id. One such publication
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                    indicates that Zoomin plans to grow its California office. Id., Ex. G. Zoomin has
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z~ a M        15    also visited Jukin's Los Angeles office to discuss partnership terms. Compl., ¶ 17;
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              16    Sales Decl., ~ 5.
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              1 /           In addition, Zoomin's publically accessible Media Kit, made available on
              18    Zoomin's corporate website, indicates that among other publishers of web content,
              19    Zoomin pat-tners with both Yahoo! and YouTube, which are both headquartered in
              20    Califot-nia. Bentz Decl., ~ 6, Ex. D. Similar marketing material made available on
              21    Zoomin's corporate website indicates that North America represents 18% of
              22    Zoomin's web audience, 11% ofZoomin's mobile audience, and that the United
              23    States is a "key market" responsible for 420 million monthly views. Id., Ex. C.
              24             Finally, Zoomin actively recruits "freelance video journalists" in the United
              25    States responsible for submitting online videos to Zoomin. Bentz Decl., ¶ 10. A
              26    cursory examination ofthe business-oriented social networking website LinkedIn
              27    illustrates that ofthe "top 8 Video Journalist profiles at Zoomin.tv," one such video
              28    journalist is based out of Los Angeles. Id., Ex. F.
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                 1            C.     Service of Process
                 2            Zoomin's corporate vvebsite plainly states that one of its offices is located at
                 3    1100 Glendon Avenue, Los Angeles, CA 90024. Bentz Decl., ¶ 3, Ex. A. A
                 4    receptionist at this location identified Matt J. Slan as the Zoomin person in Los
                 5    Angeles. Id. In several publically accessible websites, including Zoomin's
                 6    corporate website, Mr. Slan is listed as an officer, and specifically the Vice-
                 7    President of Sales and Business Development in the United States. Id., Exs. C-F.
                 ,~   The Zoomin corporate website includes a photograph of Mr. Slan. Id., Ex. B.
                 G~           Jukin hired a reputable process server who personally served Slan with
                 10   process. Document 10. In a sworn Notice of Service, process server Alan Juarez
                 11   explained that he personally served Matt Slan, Zoomin's U.S. Vice-President of
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                 12   Sales and Business Development, on September 30, 2015 at 9:35 a.m. Id. Mr.
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                 13   Suarez further recounted, in his confirmation to Julcin's counsel, that he had a
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                      photograph of Slan, and the person served matched the photo. Bentz Decl, at X12,
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z~¢M             1J   Ex. I. Upon receiving the summons and complaint, Slan timely mailed a copy of
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                 16   the papers to Zoomin's headquarters in the Netherlands. Slan Decl., ~ 6.
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                 1/   III.    ARGUMENT
                 18            A.    Zoomin Is Subject to Specific Personal Jurisdiction
                 19            The facts as alleged and sworn in this case establish this Court may exercise
                 20   specific personal jurisdiction over Zoomin. The Ninth Circuit analyzes specific
                 21   ~ jurisdiction according to a three-prong test:(1) whether the non-resident defendant
                 22   "purposefully directed] his activities or consummated] some transaction" with the
                 23   forum state, or otherwise performed some act by which the defendant
                 24   "purposefully availed] himself ofthe privilege of conducting activities in the
                 25   forum;"(2) whether the claim at issue "arises out of or relates to the defendant's
                 26   forum-related activities;" and(3) whether the exercise ofjurisdiction is reasonable.
                 27   Yahoo!Inc. v. La Ligue ContNe Le Racisme Et L'antisemitzsme, 433 F.3d 1199,
                 28   1205-06 (9th Cir. 2006)(per cu~iam)(citing Schwa~zenegge~ v. Feed Martin
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                                                 PLAINTIFF JUKIN MEDIA,INC.'S OPPOSITION TO MOTION TO DISMISS
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            1     ~ Motor Co., 374 F.3d 797, 802(9th Cir. 2004)).
            2              The Plaintiff has the burden of establishing the first two prongs ofthe
            3     analysis. Where, as here, the court does not hold an evidentiary hearing, the
            4     plaintiff meets his burden by making only "a pimafacie showing ofjurisdiction to
            5     avoid the defendant's motion to dismiss." Rio Pops. v. Rio Intl Interlink, 284
            6     F.3d 1007, 1019(9th Cir. 2002). That is, plaintiff"need only demonstrate facts
            7     that iftrue would support jurisdiction over the defendant. Ballad v. Savage, 65
            8     F,3d 1495, 1498(9th Cir. 1995)(emphasis added). In this regard,"uncontroverted
            9     allegations in the complaint must betaken as true," and "[c]onflicts between
           10     parties over statements contained in affidavits must be resolved in the plaintiff's
           11     favor." Dole Food Co. v. Watts, 303 F.3d 1104, 1108(9th Cir. 2002). Once the
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  W        12      plaintiff establishes the first two elements, the burden shifts to the defendant to
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           13      present a "compelling case" that the exercise ofjurisdiction would not be
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           14     reasonable. Burger King Corp. v. Rudzewicz, 471 U.S. 462,476-78 (1985).
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       a   1J              B.    Zoomin Purposely Directed Its Activities Toward California
W = N
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  U        16              In cases involving tortious conduct, the Ninth Circuit typically employs an
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           1 /    "effects test" for purposeful direction analysis. Mav~ix Photo, Inc. v. Band
           18      Technologies, Inc., 647 Fad 1218, 1228 (9th Cir. 2011). This "effects test," based
                   on CaldeN v. Jones, 465 U.S. 783 (1984), requires that the nonresident defendant
           ►. ~   (1)commit an intentional act;(2)that was expressly aimed at the forum state;(3)
           21      and caused harm that the nonresident defendant knew would likely be suffered in
           22      the forum state. Mavrix Photo,647 F.3d at 1228,
           23                     1.    Zoomin Committed an Intentional Act
           24              In Mav~ix, the Ninth Circuit summarily disposed ofthe "intentional act"
           25      requirement in the copyright infringement action because there was "no question
           26      that [defendant] acted intentionally when it reposted infringing works on its
           27      website." Id. at 1229. Similarly, in Washington Shoe Co. v. A-Z Sporting Goods
           28     Inc., the Ninth Circuit held that anon-resident defendant acted intentionally when
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                                              PLAINTIFF JUKIN MEDIA,1NC.'S OPPOSITION TO MOTION TO DISMISS
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              1   it continued to engage in copyright infringement even after it received notice ofthe
              2   infringement from the copyright holder. 704 F.3d 668, 675 (9th Cir. 2012).
              3           Here, Jan Riemens,Zoomin's CEO,was expressly notified ofthe existence
              4   of Julcin's copyrighted material on Zoomin's website via email. Sales Decl., ~¶ 7-
              5   8, Ex. A. In fact, Riemens responded to this notification with an email stating that
              6   he would investigate the matter personally. Id. ¶8, Ex. A. These emails are in
              7   direct contradiction to Zoomin's contention that it never received notice ofthe
              8   infringement prior to the commencement of this action. Mot. at 7; Riemens Decl.,
              9   ¶ 10. In addition to the specific notice Julcin provided, many of the infringed
             10   videos contained licensing information in the description ofthe video on YouTube,
             11   e.g. "Julcin Media Verified (Original) *For licensing/permission to use: Contact:
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     W       12   licensing@jukinmedia.com." Compl.,¶ 20. The posting of this information alone
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a ~' 0       13   would have been sufficient to put Zoomin on notice of infringing use. Zoomin's
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             14   argument that it did not act intentionally is therefore meritless.
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z~Q"'        15                 2.    Zoomin's Conduct was Expressly Aimed at California
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             16           "The second part ofthe Calder-effects test requires that the defendant's
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             1/   conduct be expressly aimed at the forum." Brayton Purcell LLP v. Reco~don &
             18   Recor~don, 606 F.3d 1124, 1129(9th Cir. 2010). Counts have emphasized that
             19   "something more than foreseeability" is required in order to justify the assertion of
             20   personal jurisdiction, and that "something more" has come to mean conduct
             21   expressly aimed at the forum. Id. The Ninth Circuit recognizes that a defendant's
             22   "willful infringement of[a forum-resident's] copyright, and its knowledge of both
             23   the existence of the copyright and the forum of the copyright holder, is sufficient
             24   `individualized targeting' to establish the `something more' necessary to satisfy the
             25   express aiming requirement." Wash. Shoe Co., 704 F.3d 668, 678-79.
             26           In Washington Shoe,the plaintiff, aWashington-based company, brought
             27   suit in a Washington district court after discovering that the defendant, with whom
             28   plaintiff had a prior business relationship, had been selling plaintiff's copyrighted

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           1    boot designs in Arkansas. 704 F.3d at 671. As is the case here, the plaintiff
           2    notified the defendant ofthe alleged infringement. Id. The Ninth Circuit found
           3    personal jurisdiction over the defendant, holding that the defendant "expressly
           4    aimed" its conduct at Washington because the defendant"knew that its intentional
           5    acts would impact [defendant's] copyright by virtue ofthe cease-and-desist letter it
           6    had received. Id. at 678; see e.g., Ai~Wai~ Intl Ltd. v. Schultz, 73 F. Supp. 3d
           7    1225, 1235(N.D: Cal. 2014)(express aiming requirement satisfied after defendant
           8    was told that it its continued trademark infringement would draw legal attention
           9    from plaintiff; ThiNd Estate LLC v. Cultevation, Ltd., No. 14-05125 MWF(JPI~),
           10   2015 U.S. Dist. LEXIS 145107, at *10(C.D. Cal. Oct. 23, 2015)(holding that
           11   "express aiming" was satisfied when the out of state defendant received
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  W        12   notification of alleged trademark infringement); Dandoul Textiles, Inc. v. Zinatex
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ago        13   Imps., Inc., No. 2:15-cv-04011-ODW(ASx), 2015 U.S. Dist. LEXIS 113469, at *5-
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           14   6(C.D. Cal. Aug. 25, 2015)(holding that defendants expressly aimed their conduct
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z~Q~       15   at the forum state by willfully infringing the copyright of a California corporation
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  v             after being informed of the copyright by the manufacturer, and after being sent a
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           17   cease-and-desist letter by the plaintiffs).
           18            The Supreme Court recently addressed the express aiming issue in Walden v.
           19   Fiore, 134 S. Ct. 1115 (2414). There, Nevada residents brought an action in a
           20   Nevada district against a DEA resident for alleged Fourth Amendment violations
           21   that occurred in Georgia. Id. at 1119-20. The Supreme Court held that the district
           22   court could not exercise personal jurisdiction over the defendant because, even
           23   though plaintiffs were from Nevada, none ofthe challenged conduct had anything
           24   to do with Nevada itself Id. at 1125.
           25            The Walden court contrasted the facts before it with Calder, which involved
           26   a claim for libel against out of state defendants. Id. at 1124. The Court reasoned
           27   that unlike a Fourth Amendment violation, the reputation-based `effects' of the
           28   alleged libel in Calder connected the defendants to California, not just to the
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           1    plaintiff Id. at 1124-25. The "crux of Calder," according to the Court, was that
           2    the reputational injury caused by the defendants would not have occurred but for
           3    the fact that the defendants wrote an article for publication in California that was
           4    read by a large number of California citizens. Id.
           5            Lilce the Walden court, the Ninth Circuit, in Pebble Beach Co. v. Caddy,
           6    similarly found that defendant did not aim its tortious conduct at the forum state.
           7    453 F.3d 1151, 1158 (9th Cir. 2006). In Pebble Beach, a famous California golf
           8    resort sued the defendant for intentional trademark infringement and dilution for
           9    operating a bed and breakfast operating in England called "Pebble Beach." Id. at
          10    1153. Since plaintiff, in its complaint, provided no facts suggesting that defendant
          11    knew his intentional act would have an impact in California, the court held that
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 WN       12    personal jurisdiction was not proper regardless ofthe "foreseeable effects"
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          13    defendant's conduct cause in the forum. Id. at 1158.
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          14            In the present action, the facts are much more analogous to Washington Shoe
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z~QM      1~    and Calder then to Walden or Pebble Beach. The Complaint clearly establishes
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          16    that Zoomin knew that Julcin is a forum resident because Julcin alleges that
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          1 /   Defendant visited Julcin's Los Angeles headquarters. (Comp. ¶ 17). The
          18    Complaint similarly alleges that Zoomin had knowledge ofthe alleged
          19    infringement. Id. Despite Zoomin's denial of any knowledge of Jukin's
          20    copyrighted works, Zoomin knew that its alleged unlawful conduct would affect
          21    California after Riemens received repeated emails notifying him of the alleged
          22    infringement. Saless Decl., ~~ 7-8, Ex. A. Like the continued infringement
          23    perpetrated by the defendants in Washington Shoe following receipt of cease and
          24    desist letters, Zoomin's continued infringement after receiving notice of its
          25    infringement, is sufficient "individualized targeting" to satisfy the "express aiming
          26    requirement." Unlike in Pebble Beach,the facts and allegations here do not
          27    merely showforeseeable impact on the forum state, they show a knowing one.
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           1             Further, unlike the claim in Walden, copyright infringement ofthe Jukin
          2     Original Videos does not merely affect Julcin personally, but broadly affects
          3     California. Lilce the reputation-based libel claim in Calder, copyright infringement
          4     causes Julcin to suffer similar reputational harm in this State, lost revenue derived
          5     from licensing fees, and monetization loss stemming from YouTube viewers
          6     diverted to Defendant's site. Compl., ¶ 137.
           7             If anything, the facts here support jurisdiction even more than they did in
           8    Calder because Zoomin cannot be characterized as merely an out of state
           9    defendant. Zoomin's Los Angeles office serves as the headquarters of its U.S.
          10    sales, business development, and marketing departments; Zoomin maintains
          11    partnerships with California-based video streaming companies Yahoo! and
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  W       12    YouTube; and it utilizes Los Angeles-based freelance video journalists. Because
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          13    I~ of Zoomin's close ties with California, Zoomin is able to obtain a competitive
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          14       advantage in this State while misappropriating the copyrighted works of Jukin. It
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z~QM      15    seems wholly unreasonable that Zoomin can have this presence in California,
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          16    knowingly steal Julcin's intellectual property, and still claim that Julcin must go to
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          1 /   the Netherlands to enforce United States copyrights.
          18              Accordingly, Jukin's allegations regarding Zoomin's commercial activities
          19    in California, coupled with Zoomin's actual knowledge ofthe effects of its actions
          20    in California sufficiently establish that Zoomin aimed its actions at this state.
          21                    3.    Zoomin Caused Harm it Knows is Likely to be Suffered in the
          22                          Forum State
          23             Zoomin caused harm that it knows is likely to be suffered in the forum state.
          24    In determining the location of a corporation's injury, Ninth Circuit precedent
          25    recognizes that a corporation can suffer harm both where the bad acts occurred and
          26    where the corporation has its principle place of business. Mavrix, 647 F.3d at 1231
          27    (citing Dole Food Co., 303 F.3d at 1113}. Further, "[t]he economic loss caused by
          28    the intentional infringement of a plaintiff's copyright is foreseeable. MavNix, 647

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            1   F.3d at 1231.
                        Here, it is foreseeable that that the economic loss to Plaintiff would be
           3    inflicted in California, the site of Plaintiff's principal place of business. Moreover,
           4    Zoomin knew that its intentional acts would have an impact on Plaintiff and it
           5    knew Plaintiff had its headquarters in the state of California. Compl., ¶ 17.
           6    Zoomin knew that the impact of its willful infringement of Plaintiff's copyright
           7    would cause harm likely to be suffered in the forum. As a consequence,Zoomin
           8    can "reasonably anticipate being haled into court" in California. World-Wide
                Volkswagen Co~p.v. i~oodson, 444 U.S. 286, 297(1980).
           10            C.    Jukin's Claim Arises Out of Zoomin's Forum-Related Activities
           11            As Zoomin correctly points out, the second prong ofthe specific jurisdiction
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                test is satisfied if the plaintiff would not have been injured "but for" the
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                defendant's forum related activities. See Schwa~zenegge~^, 374 F.3d at 802. In this
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                case, Zoomin's knowing infringement was California-related, even if it did not
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z~aM            occur entirely—or even primarily—in California. In its Motion,Zoomin attempts
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                to mitigate the extent to which it is inexorably tied with the State of California
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                Mot. at 10. But,the suit need not arise from Zoomin's activities in California. See
                Aweida ANts, Inc. v. Pure Glass Distrib., Inc., No. C14-757R.AJ, 2015 U.S. Dist.
                ~' LEXIS 68537, at * 15 (VV.D. Wash. May 27, 2015). Instead, the second prong of
           20   the personal jurisdiction analysis requires only "forum-related" activity.
           21   Schwa~zenegge~, 374 F.3d at 802.
           22            As explained in Washington Shoe, a court"may exercise personal
           23   jurisdiction over a defendant who engages in an intentional act that causes harm in
           24   the forum state, even if that act takes place outside the forum state." 704 F.3d at
           25   673. Here, unlike in Washington Shoe, Zoomin has engaged in substantial conduct
           26   within the state of California via its Los Angeles office where its U.S. sales,
           27   business development, and marketing departments operate; its partnerships with
           r:   California-based video streaming companies Yahoo! and YouTube; and its use of
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               1   Los Angeles-based freelance video journalists. But even without these myriad
              2    contacts, Jukin's suit arises from allegations of Zoomin's forum-related activity—
               3   lcnowing and intentional infringement of a California corporation's copyrights for
              4    the purpose of competing with that company in California.l Aweida A~^ts, 2015
               5   U.S. Dist. LEXIS 68537, at *15; Ai~Wai~, 73 F. Supp. at 1238 (holding that but for
              6    out of state defendant's alleged infringement, plaintiff would not have endured
               7   harm).
               8           D.    The Exercise of Jurisdiction is Reasonable
              9            Since Plaintiff has borne its duty of malting a przmafacie showing of
              10   Zoomin's "minimum contacts" with California, the burden shifts to Zoomin to
              11   "present a compelling case that the presence ofsome other considerations would
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  W  N        12   render jurisdiction unreasonable." Ballad,65 F.3d at 1500(quoting Bu~ge~ King,
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a r m         13   471 U.S. at 477). Courts in the Ninth Circuit evaluate seven factors to determine
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                   the reasonableness of a forum's exercise ofjurisdiction:(1)the extent of
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z~Q~          15   purposeful interjection;(2)the burden on the defendant of defending in the forum
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              16   state;(3)the extent of conflict with the sovereignty ofthe defendant's state;(4)the
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              1/   forum state's interest in the dispute;(5)the most efficient forum for judicial
              18   resolution of the dispute;(6)the importance ofthe forum to the plaintiff's interest
              19   in convenient and effective relief; and (7)the existence of an alternative forum.
              20   DiNecty, Inc. v. EQ Stuff, Inc., 207 F. Supp. 2d 1077, 1081 (C.D. Cal. 2002)
              21   (quoting Ballad, 65 F.3d at 1500). Zoomin has not cat-ried the "heavy burden of
              22   rebutting the strong presumption in favor ofjurisdiction." Ballard, 65 F.3d at
              23

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                   1 The Washington Shoe court considered onlythe purposeful direction prong ofthe
              25                                                  F. 3d at 672("Only the first prong is
                   three-part test for personal jurisdiction. 704 F
                   at issue In this case."). "Nonetheless, its holding that conduct outside the forum
              26   state constitutes purposeful direction would be meaningless if the defendant could
                   avoid the jurisdictional consequences of that action merely by noting that it
              27   occurred outside the forum state." Aweida Arts, 2015 U.S. Dist. LEXIS 68537, at
                   * 15 n.l.
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              1   1500. This is because it cannot, as the great majority of these factors weigh in
             2    favor ofthe Court's retention ofjurisdiction.
             3             First, despite Zoomin's contentions to the contrary, Zoomin has most
             4    certainly interjected itself into California. Zoomin has engaged in substantial
             5    conduct within the state of California via its Los Angeles office where its U.S.
             6    sales, business development, and marketing departments operate; its partnerships
             7    with California-based video streaming companies Yahoo! and YouTube; and its
             8    use of Los Angeles-based freelance video journalists.
             9             Second,Zoomin claims that litigating this action in the United States would
             10   pose "a great burden" to Zoomin because individuals with knowledge reside in the
             11   Netherlands, and do not speak English as a primary language. But this contention
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             12   finds no support in the facts. Email correspondence between Jukin and Zoomin
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     0       13   CEO Jan Riemens reveals that Riemens, as head of the Company, speaks fluent
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a ~W N       14   English and travels to the United States frequently for business. See Saless Decl.,
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  a          15   ~¶ 2-5, Ex. A. See Dole Food Co., 303 F.3d at 1115 ("several facts mitigate the
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             16   burden in this case. [Defendants] are able to speak, read, and write English with
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             17   ease."). Indeed, Mr. Reimans met with Jukin in Julcin's Los Angeles office and the
             18   entire meeting was conducted in English without a translator. See Saless Decl., ¶¶
             19   4-5. The fact that it would be expensive and inconvenient for Zoomin to defend
            20    themselves in this forum is not dispositive. See Dole Food Co., 303 F.3d at 1115.
            21             Third, determining conflict with the sovereignty of a defendant's state
            22    entails an examination ofthe competing sovereign interests in regulating the
            23    defendant's behavior. Id. However, since sovereignty concerns inevitably arise
            24    whenever a U.S. court exercises jurisdiction over a foreign national, this factor is
            25    "by no means controlling," Ballad, 65 F.3d 1495, 1501 (9th Cir. 1995).
            26    Otherwise, this factor "would always prevent suit against a foreign national in a
            27    United States court." Gates Learjet Copp. v. Jensen, 743 F.2d 1325, 1333 (9th Cir.
            28    1984). Here, Julcin's complaint only raises questions of U.S. copyright law, it does
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            1     not allege any cause of action under the laws of the Netherlands, or any other
            2     sovereign country.
            3              Fourth, California has an interest in adjudicating disputes involving
            4     defendants that "use[] California companies to perpetuate Copyright
            5     infringement." DFSB Kollective Co., Ltd. v. Tian, No. 11-CV-01049-LHK, 2011
            6     U.S. Dist. LEXIS 147538, at *13 (N.D. Cai. Dec. 21, 2011). In addition, Jul~in is a
            7     tax paying entity headquartered in Los Angeles. It avails itself of California's laws
             ~~   and has every right to seek redress for wrongs committed against it in this State.
            9              Fifth, this efficiency factor, focused on the location of the evidence and
            10    witnesses "is no longer weighed heavily given the modern advances in
            11    communication and transportation." Panavision Intl, L.P. v. Toeppen, 141 F.3d
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   W        12    1316, 1323 (9th Cir. 1998). Here, Zoomin's CEO has taken advantage ofthese
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   ~-- °~   13    advances as he travels to the United Sates for business purposes. Sales Deci., ~ 3.
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            14    Ex. A. Moreover,Zoomin has an office in Los Angeles from which it conducts its
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z~aM        15    sales, business development, and marketing efforts in the State. Bentz Decl., ¶ 3,
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                            Sixth, it is convenient for Julcin to litigate this dispute in the forum in which
            18    it was harmed by defendant. Julcin conducts no business operations in the
            19    ~ Netherlands and would be unduly damaged if it was forced to litigate this dispute
            20    in a foreign jurisdiction in which it maintains no contacts.
            21              Seventh, despite Zoomin's contention that Julcin should have filed this action
            22    in the Netherlands, Jukin raises no claims under Dutch law. To the contrary, all of
            23    Jukin's prayers for relief arise under U.S. or California law.
            24              Thus the exercise of personal jurisdiction over Zoomin in California would
            25    be reasonable.
            26                                           ~      ~      ~

            27              By targeting a California resident as the victim in its intentional copyright
            28    infringement, Zoomin purposefully directed its illegal activities toward California
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            1   and caused damage therein. The exercise ofjurisdiction over Zoomin under these
            2   circumstances is warranted, and would not offend "traditional notions of fair play
            3   and substantial justice." Inte~^national Shoe Co. v. Washington, 326 U.S. 310, 316
            4   (1945)(internal citations and quotation marks omitted).
            5   IV.      SERVICE WAS PROPER
            6            A.    Matt Slan was Personally Served with Process
            7             The party alleging improper service of process bears a "substantial" burden
            8   to prove that he is entitled to relief. S.E.C. v. Internet Sols.fog Bus. Inc., 509 F.3d
            9   1161, 1166 (9th Cir. 2007). "A signed return of service constitutes prima facie
           10   evidence of valid service which can be overcome only by strong and convincing
           11   evidence." Id. (internal quotations omitted).
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   W       12            Here, process server Alan Juarez signed a proof of service indicating that he
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  ~ rn     13   personally served Matt Slan, Zoomin's U.S. Vice-President of Sales and Business
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           14   Development, on September 30, 2015 at 9:35 a.m. Document 10. Mr. Juarez
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z~Q~       15   further indicated that he had a photograph of Mr. Slan, and the person served
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  U        16   matched the photograph. Bentz Decl., Ex. I. Mr. Slan contradicts Mr. Juarez's
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           17   signed proof of service with his own signed declaration that the summons and
           18   complaint was left with a general receptionist for the office building. Slan Decl., ¶
           19   5. Mr. Slan's declaration, contrasted with the sworn proof of service from an
           20   I, independent party, simply does not rise to the level of"strong and convincing
           21   evidence" necessary to rebut the presumption of valid service. Buda Media, Inc.
           22   v. Vie~tel, 417 F.3d 292, 302-03(2d Cir. 2005)(finding that defendant received
           23   service of process where the only evidence that he did not was his own affidavit
           24   denying the receipt ofsummons).
           25            B.    Serving Matt J. Slan was Appropriate
           26            Federal Rule of Civil Procedure 4(h)(1)(B) permits for service to be
           27   performed on a domestic or foreign corporation "by delivering a copy ofthe
           28   summons and of the complaint to an officer, a managing or general agent, or any

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            1   other agent authorized by appointment or by law to receive service of process."
           2    Fed. R. Civ. P. 4(h)(1)(B). In the Ninth Circuit,"service of process is not limited
           3    solely to officially designated officers, managing agents, or agents appointed by
           4    law for the receipt of process." Direct Mail Specialzsts, Inc. v. Eclat Computerized
           5    Techs., Inc., 840 F.2d 685, 688 (9th Cir. 1988). Rather,"service can be made upon
           6    a representative so integrated with the organization that he will know what to do
           7    with the papers." Id. "Service is sufficient when made upon an individual who
           8    stands in such a position as to render it fair, reasonable and just to imply the
           9    authority on his part to receive service." Id.
           10            In Direct Mail Specialists, a process server left the summons and complaint
           11   with the receptionist of the defendant after she stated that she was the only person
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  W        12   at the office. 840 F.2d at 687. In holding that process was properly served, the
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a~~  0     13   court acknowledged that(1)the receptionist, as the only employee in the office,
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           14   demonstrated "that more than minimal responsibility was assigned to her," and (2)
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z~Q~       15   "actual notice" was demonstrated by the fact that the company's president
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           16   complained about being served the following day. Id. at 689.
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           17            Here, Zoomin's Vice President of Sales in the United States, Mr. Slan was
           18   successfully served with process at Zoomin's Los Angeles office. Document 10.
           19   For the purposes of this Motion,Zoomin contends that Mr. Slan is a "free lance
           20   consultant." Mot. at 13. This assertion is undermined by the fact that in several
           21   publically accessible websites, including Zoomin's corporate website, Mr. Slan is
           22   listed as an officer, and specifically the Vice-President of Sales and Business
           23   Development in the United States. Bentz Decl., ¶ 4, Ex. B. As the facts indicate,
           24   Zoomin is publically holding out Mr. Slan as a Zoomin Vice-President for the
           25   purpose of increasing its foothold in California, while simultaneously diminishing
           26   his substantial role in the company in an attempt to quash service of process.
           27   Zoomin cannot have it both ways. According to online periodicals, and
           28   representations Zoomin has made in its own corporate website, a reasonable person

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               1   would conclude that Mr. Slan would "know what to do with the papers." Direct
               2   Mail Specialists, 840 F.2d at 688.
               3            Mr. Slan's capability of accepting service is additionally supported by Mr.
               4   Slan's own assertion that he "notified Zoomin.TV by emailing a copy ofthe papers
               5   and mailing the papers to Zoomin.TV in the Netherlands." Slan Decl., ¶ 6. This
               6   communication shows actual notice, and therefore makes serving Mr. Slan on
               7   behalf of Zoomin both reasonable and fair. See Allphin v. PeteN K, Fitness, LLC,
               8   No. 13-cv-01338-BLF, 2014 U.S. Dist. LEXIS 89395, at *13, 2014 WL 2961088
              E    (N.D. Cal. June 30, 2014).
              10   V.       CONCLUSION
              11            Based on the foregoing, Defendant's Motion should be denied in its entirety.
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                                                           Schuyler B. Sorosky
              18                                            Attorneys for Plaintiff
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